Case 1:23-cv-11195-SHS-OTW   Document 338-1   Filed 11/21/24   Page 1 of 3




                       EXHIBIT 1
Case 1:23-cv-11195-SHS-OTW            Document 338-1        Filed 11/21/24      Page 2 of 3




                   News Plaintiffs’ Custodial 30(b)(6) Deposition Topics

1. For each custodian requested by News Plaintiffs, identification of the sources of
   information and documents that You searched for responsive documents, including email
   accounts, phone numbers, messaging platforms, and social media accounts.

2. The process by which You went about investigating the existence of documents responsive
   to News Plaintiffs’ Requests for Production and information responsive to News Plaintiffs’
   Requests for Inspection, including identification of the locations searched for responsive
   documents and information.

3. Any document preservation notices that Defendants drafted or sent related to the News
   Cases or the use of the News Plaintiffs’ content, including the timing of these notices, the
   scope of them, and the recipients.

4. Identification of all programs and platforms Your employees have used to communicate
   about issues relevant to this case.

5. Identification of all repositories that contain or contained documents and information
   responsive to the requests for production and requests for inspection issued by News
   Plaintiffs, including repositories where technical documentation, training data, output data,
   and source code, is or has been stored, as well as the extent to which separate repositories
   exist for the distinct OpenAI entities named as Defendants.

6. Identification of all platforms used for sharing of or collaboration on documents between
   OpenAI and Microsoft, as well as any repositories in which documentation of meetings or
   technical collaborations between Microsoft and OpenAI are or have been stored.

7. Your policies and practices regarding the retention and deletion of documents and other
   information, as applied to current and former employees, as well as to non-custodial
   sources of information.

8. Your policies and practices regarding the use of personal electronic devices for work
   purposes.

9. Whether and the extent to which any custodial documents have been deleted or otherwise
   disposed of, including text messages on personal devices and messages sent through social
   media accounts.

10. The existence, organization, preservation, storage, and deletion of Training Data, including
    all training datasets containing Journalism content, as well as the identification of tools
    used to acquire and process Training Data.




                                             1
Case 1:23-cv-11195-SHS-OTW           Document 338-1         Filed 11/21/24     Page 3 of 3




11. The existence, organization, preservation, storage, and deletion of documentation
    concerning the processes You used to train the Text Generation AI Models, including all
    pre-training, post-training, and fine-tuning processes.

12. The existence, organization, preservation, storage, and deletion of documentation
    concerning Generative AI Products and Services, including all source code, production
    pipeline documentation, and product documentation as applied to all versions and updates
    of Generative AI Products and Services.

13. The existence, organization, preservation, storage, and deletion of documentation
    concerning the development of and planning for future products and services that include
    a Text Generation AI Model.

14. The existence, organization, preservation, storage, and deletion of documentation
    concerning the testing and evaluation of the Text Generation AI Models.

15. The existence, organization, preservation, storage, and deletion of output data reflecting
    user sessions on Your Generative AI Products and Services, as well as of reports on,
    metrics on, or analysis of such output data.

16. The meaning of data fields contained in sample output logs produced by Microsoft at
    MSFT_NEWS_000624874, MSFT_NEWS_000624875, and MSFT_NEWS_000624876,
    as well as of data fields contained in other output logs maintained by Defendants.

17. The existence, organization, preservation, storage, and deletion of reports on, metrics on,
    or analysis of user feedback from Your Generative AI Products and Services.

18. The existence, organization, preservation, storage, and deletion of all Text Generation AI
    Models, including all versions of the GPT-1, GPT-2, GPT-3, GPT-3.5, GPT-3.5 Turbo,
    GPT-4, GPT-4 Turbo, and GPT-4o family of models.




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